Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 1 of 7 PageID 1
Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 2 of 7 PageID 2
Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 3 of 7 PageID 3
Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 4 of 7 PageID 4
Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 5 of 7 PageID 5
Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 6 of 7 PageID 6
Case 7:20-cv-00048-O Document 1 Filed 04/20/20   Page 7 of 7 PageID 7
